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Report Date: February 8, 2019

TCAPR,

CORP. December 31
Office of the

Technical
Compliance Advisor

Financial
Report as of:

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Prepared by:
Eric Guzman
Executive Office
Manager
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To: Judge Gustavo A Gelpi Copies: US Department of Justice

United States District Court of Puerto Rico PR Department of Justice

Federico Degetau Federal Building

150 Carlos Chardon Street

San Juan, PR, 00918-1767
From: Eric Guzman

Executive Office Manager

Office of the Technical Compliance
Re: Mr. Arnaldo Claudio

Technical Compliance Advisor (“TCA”)

TCAPR, Corp.
Subject: Financial Report as of December 31, 2018

TCAPR, Corp.
Statement of Operations and Fund Balance vs. Budget
As of December 31, 2018
TCAPR, CORP. ae : “ACTUAL BUDGET VARIANCE

TOTAL PRPD REFORM CONTRIBUTIONS = $ 1,509,663.25 $ 1,519,547.76 $ (9,884.51)
PROGRAM EXPENESES
SALARIES & WAGES $ 413,838.24 $ 478,838.00 $ (64,999.76)
CONSULTANTS (CORE TEAM) 602,647.50 602,070.12 $ 577.38
SPECIALISTS 351,247.31 288,625.10 §$ 62,622.21
TRANSPORTATION 26,283.17 30,644.04 § (4,360.87)
TOTAL PROGRAM EXPENSES 1,394,016.22 §$ 1,400,177.26 $ (6,161.04)
MANAGEMENT & GENERAL EXPENSES
EMPLOYER RELATED TAXES & BENEFITS $ 52,198.27 $ 57,770.48 $ (5,572.21)
COMMUNICATIOS 2,297.33 3,000.00 $ (702.67)
PROFESSIONAL & FEES 18,100.08 18,100.00 $ 0.08
OTHER OFFICE CHARGES 4,238.93 4,500.02 $ (261.09)
OFFICE RENT EXPENSES 36,389.02 36,000.00 $ 389.02
TOTAL MANAGEMENT & GENERAL EXPENSES 113,223.63 119,370.50 $ (6,146.87)

FUND BALANCE (Note 5) $ 2,423.40 § - $ 2,423.40

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TCAPR, Corp.
Summary of Actual vs Budget Variance
As of December 31, 2018
TCAPR,CORP. © ss ACTUAL BUDGET VARIANCE
PROGRAM EXPENSES $ 1,394,016.22 §$ 1,400,177.26 $ (6,161.04)
MANAGEMENT & GENERAL EXPENSES 113,223.63 119,370.50 (6,146.87)
BUDGET SAVING FROM PROGRAM &
MANAGEMENT EXPENSES $ _1,507,239.85 $  1,519,547.76 $ (12,307.91)

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TCAPR, Corp.
Statement of Financial Position
As of December 31, 2018
TCAPR, CORP. . 2018 2017

ASSETS
CURRENT ASSETS
PETTY CASH $ (20.00) $ (974.19)
REGULAR CHECKING ACCOUNT 5,144.38 14,621.63
RESTRICTED FUNDS (Note 1} 7,675.00 7,675.00
ACCOUNT RECEIVABLE (USDC-PR) (Note 2) 83,123.98 47,639.75
UNBILLED TCA PR SERVICES (Note 3) 4,085.71 3,266.55
UNBILLED SALARIES - 266.75
TOTAL CURRENT ASSETS $ 100,009.07 $ 72,495.49
OTHER ASSETS
PRTC DEPOSIT (Note 4) 150.00 150.00
PREPAID INSURANCE 7,312.00 3,290.00
PREPAID INSURANCE AMORTIZATION (6,641.70) (2,891.34)
TOTALOTHER ASSETS $ 820.30 $ 548.66
TOTAL ASSETS $ 100,829.37 $ 73,044.15
LIABILITIES AND NET ASSETS
CURRENT LIABILITIES
ACCOUNTS PAYABLE $ 80,809.09 52,669.08
COURT OVERPA YMENT - 89.00
SALARIES ROUNDING ADJUSTMENT - 673.24
EXPENSES REIMBURSEMENT - 10.40
SOCIAL SECURITY TAXES - 792.58
FEDERAL INCOME TAX PAYABLE - 1,146.39
FEDERAL UNEMPLOYMENT TAX 168.00 168.00
STATE INCOME TAX WITHHOLDING - -
INCOME TAX WITHHOLDING (VA) 2,639.04 2,725.76
CHAUFFER INSURANCE 10.40 10.40
7% INCOME TAXES PA YABLE 4,761.75 4,741.58
OTHER FEES 5.00 5.00
TOTAL CURRENT LIABILITIES $ $8,393.28 $ 63,031.43
RESTRITED FUND BALANCE (Note 6) 3 12,466.09 $ 10,012.69
TOTAL LIABILITIES & NET ASSETS $ 100,859.37 $ 73,044.12

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TCAPR, Corp.
Notes of Statement of Financial Position
As of December 31, 2018
Note 1: Restricted Funds

The actual bank account balance of $12,818.38 includes funds in the amount of $7,675 that have been designated
for the following transactions:

Landlord Deposit $ 6,000.00
Funds for an Office Switchboard 1,675.00
Total 7,675.00

During the month of December 2018, the TCA made an advance payment for work which was required to be paid
reimbursed and was invoiced by the USDC the following month of January 2019. This advance payment resulted
in a temporary reduction in the Restricted Fund balance that was subsequently cured in January 2019.

Note 2: Overbilling

- The total December invoice for Core Team cots was $84,922.37; however, due to a clerical mistake during the
preparation on that invoice, the TCA over billed and collected $1,798.90. This credit will be applied towards the
TCA invoice for the month of February 2019; at which time the overpayment is cured.

Note 3: TCA Office Unbilled Expenses

This amount represents TCA Office expenses incurred that have been invoiced to the USDC during the month of
January 2019:

Social Security Tax $ 693.30
Telephone and Communications 191.61
Medicare Tax 501.68
Accounting, Tax & Advisory 1,508.34
Medical Insurance 1,018.86
Chauffer Insurnace 3.92
FUTA 168.00

Total $ 4,085.71

Note 4: PRTC Deposit

As a prerequisite to establishing a telephone/internet service with the PRTC/Claro for the TCA Office, a commercial
deposit of $150.00 is required. Upon the closing of this account service, this deposit is to be applied towards the
TCA Office’s final invoice with any excess deposit to be refunded.
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TCAPR, Corp.
Notes of Statement of Financial Position
As of December 31, 2017

Note 5: Fund Balance

The Fund Balance account represents the overbilled amount, bank interest deposits, the difference
between insurance premiums and their amortization amounts, and an immaterial rounding effect.

Note 6: Change in Accounting Policy & Prior Period Adjustment

Since 2015, the TCA has reported in the Fund Balance account to non-billed vacation and sick leave accruals of
non-exempt employees who worked more than 115 hours per month as required by Act No. 180 of July 27, 1998'.
However, to simplify the processing and payment of vacation and sick leave benefits, the TCA Office has preferred
the practice processing and paying vacation and sick leave benefits similar to exempt (salary) employees.

As a result, all vacation and sick leave is currently reported on the Salaries & Wages (Expense) Account without
the need to further accumulate this future reimbursable cost on the Financial Statements until such time the
employee is terminated voluntarily or involuntarily. At such time, any unused vacation time’ to be paid to the
employee shall be billed to the USDC and recorded as a liability, and thereby meeting the requirements of Act No.
180 of July 27, 1998.

The above change in Accounting Policy has been presented retroactively, therefore, the comparative balance sheet
balances for 2017 have been restated herein. The overall effect is a reduction in accumulated liabilities and an

increase in the Fund Balance account.

The reconciliation of the prior period Fund Balance account is as follows:

Vacations and Sick Leave Adjustment for 2017

RESTRITED FUND BALANCE BEFORE $ 5,468.89
ADJUSTMENT - VACATIONS & SICK LEA VE 4,543.80
RESTRITED FUND BALANCE AFTER $ 10,012.69

' Pre-Labor Reform Rules
* Unused Sick Leave is not paid upon termination.
